Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 1 of 18 PageID# 1




                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                        (ALEXANDRIA DIVISION)


 LISA SCHNEIDER,

       Plaintiff,

 v.                                              Case No.: ________________________

 WELLS FARGO BANK, NATIONAL
 ASSOCIATION,

       Defendant.


                                    COMPLAINT

      COMES NOW, Plaintiff, Lisa Schneider, by counsel, and moves this Court for

judgment against Defendant, Wells Fargo Bank, National Association, on the

grounds and for the reasons set forth below:

                                        PARTIES

             Plaintiff is a citizen of Fairfax County in the Commonwealth of Virginia.

             Defendant is a federal bank that is a citizen of South Dakota, where it

maintains its principal place of business.

                         JURISDICTION AND VENUE

             The controversy is between citizens of different states and the amount

in controversy exceeds seventy-five thousand dollars, so this Court maintains juris-

diction under to 28 U.S.C. § 1332(a).

             Venue is proper under 28 U.S.C. § 1391(b) because the negligent acts

and omissions giving rise to this claim occurred in this judicial district.



                                             1
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 2 of 18 PageID# 2




                                      FACTS

A. Introduction.

             On July 1, 2019, at approximately 10:12 a.m., Lisa Schneider, Plaintiff,

had just left a workout with her personal trainer and stopped at her bank to use the

ATM. While standing on the sidewalk using the ATM, she was suddenly crushed be-

tween the bank wall and rear bumper of a late-model Mercedes-Benz, operated by

Nicholas Flocos.

             The incident occurred when Flocos, while backing out of a bank parking

space, inadvertently applied the accelerator instead of the brake, causing his vehicle

to speed onto the sidewalk and into Lisa.

             There was no barrier to protect Lisa from the Flocos vehicle.

             Before July 1, 2019, similar incidents had occurred on other properties

operated by Defendant, often resulting in serious injuries.

             Before July 1, 2019, Defendant knew it could maintain sidewalk ATMs

and prevent injury to ATM customers from vehicle incursions by erecting a simple

barrier between the sidewalk where the ATM was located and the parking lot or road-

way.

             It was Defendant’s practice to install safety bollards1 on its properties

following vehicle incursions.



1      Safety bollards are vertical posts, often fabricated from steel, that create a
       physical barrier between the ATM and parking lot/roadway. In response to
       growing concern about incidents such as this, the American Society for Safety
       and Materials has established standards for safety bollards in ASTM F3016.



                                            2
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 3 of 18 PageID# 3




B. The incident.

             On July 1, 2019, Defendant owned and operated a bank located at 6844

Old Dominion Drive, McLean, Virginia 22101 (the “Bank”).

             The following photographs show the layout and design of relevant por-

tions of the Bank as it existed on July 1, 2019:




                                           3
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 4 of 18 PageID# 4




               The images in Paragraph 12 show the following relevant physical char-

acteristics:

               (a)   The Bank building has an ATM built into the outside wall of the

                     building, known as a “through-the-wall” ATM.

               (b)   A sidewalk is next to the building, running between the ATM and

                     the parking lot.

               (c)   The parking lot has a narrow one-way driving lane and parking

                     spaces that require front-end parking.




                                           4
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 5 of 18 PageID# 5




             (d)   Vehicles exiting the parking spaces must reverse towards the

                   Bank, sidewalk, and ATM.

             (e)   The location of the ATM makes ATM customers stand with their

                   backs towards the parking lot and vehicles exiting from parking

                   spaces.

             (f)   There is no barrier between the ATM and the parking lot that will

                   protect bank customers using the ATM from vehicles exiting the

                   parking spaces or from other traffic.

             (g)   The yellow posts depicted in the photographs were not designed

                   to protect ATM customers.

             On July 1, 2019, Lisa was a customer of Defendant and lawfully on its

property using its ATM.

             Before Lisa arrived at the ATM, another Bank customer, Flocos, had

parked his Mercedes-Benz in a designated Bank parking space that was angled di-

rectly towards the ATM.

             Due to the location of the ATM, Lisa could not see Flocos enter his

parked vehicle and back towards her while attempting to exit the parking lot.

             When Flocos attempted stop his car to change gears from reverse to

drive, he inadvertently applied the accelerator instead of the brake, which caused his

vehicle to speed towards the ATM.

             Black box data retrieved from the Flocos vehicle indicates that it was

travelling at fourteen miles per hour when it struck Lisa.




                                          5
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 6 of 18 PageID# 6




              Due to the positioning of the ATM in relation to the parking lot, Lisa

was unable see Flocos’s vehicle approaching, and she was crushed against the Bank

wall and suffered serious, life-threatening, and permanent injuries that will pro-

foundly alter her life.

              At the time of the incident, Flocos was eighty-nine years old.



C. Defendant had actual knowledge that maintaining an ATM on a side-
   walk adjacent to a roadway and parking lot created a hazardous condi-
   tion for ATM customers.

              Before July 1, 2019, Defendant had actual knowledge of vehicle-incur-

sion incidents2 on its properties resulting in serious injuries to customers using

ATMs, and it had actual knowledge that such incidents could be avoided by locating

ATMs in areas inaccessible to vehicles or by installing a barrier between ATM areas

and vehicle areas.

              Following are examples of vehicle-incursion incidents causing injury to

ATM customers on Defendant’s properties, which evince Defendant’s knowledge of

the dangerous condition created by the location of ATMs in proximity to vehicle areas

like parking lots and roadways and of how to rectify the dangerous condition:




2      A “vehicle-incursion incident” is when a vehicle leaves the roadway or other
       designated vehicular area and strikes a building or intrudes into a pedestrian
       area. These incidents are frequently the result of pedal error, similar to what
       occurred here.



                                           6
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 7 of 18 PageID# 7




           (a)   On January 15, 2009, Andrea Martinez was using a through-the-

                 wall ATM at Defendant’s bank at 1900 West 11th Street, Tracy,

                 California, when she was injured by a vehicle that drove onto the

                 sidewalk. After the injury, Defendant installed a barrier—more

                 specifically, safety bollards—shown in the following image, to pre-

                 vent other ATM customers from injury due to vehicular incursion:




                                       7
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 8 of 18 PageID# 8




           (b)   On October 7, 2009, Kris Solomita was injured by a vehicle that

                 intruded onto the sidewalk while she was using a through-the-

                 wall ATM at a Wells Fargo bank located at 1 South Milpitas

                 Boulevard, Milpitas, California. After the injury, Defendant in-

                 stalled safety bollards, shown in the following image, to prevent

                 other ATM customers from being injured due to vehicular incur-

                 sion:




           (c)   The following individuals were also injured due to vehicle-incur-

                 sion incidents while using an ATM maintained by Defendant:

                 (1)     On April 9, 2005, Maria Garcia was injured while using an

                         ATM at Defendant’s bank in Pasadena, Texas.

                 (2)     On March 7, 2008, Gary Parvin was injured while using an

                         ATM at Defendant’s bank in Sacramento, California.




                                        8
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 9 of 18 PageID# 9




                    (3)      On March 6, 2019, Linda Cosgrove was injured while using

                             an ATM at Defendant’s bank in Sonora, California.

             Defendant was sued in each of the above incidents, and except Ms. Cos-

grove’s lawsuit (which is believed to still be pending), Defendant settled each of them.

             In a previous lawsuit, Defendant identified nearly 100 prior claims re-

sulting from vehicle-incursion incidents on its properties.

             A Google search shows additional injuries from vehicular-incursion in-

cidents on Defendant’s properties:

             (a)    On March 10, 2009, a vehicle crashed into Defendant’s bank in

                    San Francisco, California, and injured a customer.               See

                    https://missionlocal.org/2009/03/car-crashes-into-wells-fargo-

                    bank/.

             (b)    On July 6, 2009, a vehicle crashed into Defendant’s bank in North

                    Mankato, Minnesota, after the driver mistakenly hit the acceler-

                    ator. See https://www.wkrg.com/news/mobile-county/car-crashes-

                    into-wells-fargo-on-moffett-road/1241914303.

             (c)    On April 22, 2014, a vehicle crashed into Defendant’s bank in Me-

                    chanicsville, Virginia, after a driver mistakenly hit the accelera-

                    tor. See https://www.nbc12.com/story/25310296/car-crashes-into-

                    bank-on-mechanicsville-turnpike/.

             (d)    On November 18, 2014, a vehicle crashed into Defendant’s bank

                    in Rialto, California, and caused debris to fall on top of a customer




                                            9
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 10 of 18 PageID# 10




                  and her child. See https://www.nbclosangeles.com/news/car-

                  slams-through-bank-nearly-missing-mom-toddler-son/90225/.

            (e)   On January 3, 2015, a vehicle crashed into Defendant’s bank in

                  Orange, Connecticut, after the driver mistakenly hit the acceler-

                  ator. See https://www.wkrg.com/news/mobile-county/car-crashes-

                  into-wells-fargo-on-moffett-road/1241914303.

            (f)   On September 2, 2015, a vehicle crashed into Defendant’s bank

                  in Santa Ana, California, after the driver mistakenly hit the ac-

                  celerator.     See    https://www.wkrg.com/news/mobile-county/car-

                  crashes-into-wells-fargo-on-moffett-road/1241914303.

            (g)   On December 8, 2015, a vehicle crashed into Defendant’s bank in

                  Virginia Beach, Virginia. See http://wtkr.com/2015/12/08/car-

                  crashes-into-virginia-beach-wells-fargo/.

            (h)   On August 24, 2016, a vehicle crashed into Defendant’s bank in

                  Greenville, South Carolina, after the driver mistakenly hit the

                  accelerator.    See     https://www.wspa.com/news/woman-crashes-

                  into-wells-fargo-bank-in-greenville-co/1018339037/.

            (i)   On September 23, 2016, a vehicle crashed into Defendant’s bank

                  in   Austin,         Texas,   and   injured   a   customer.   See

                  https://www.nbclosangeles.com/news/car-slams-through-bank-

                  nearly-missing-mom-toddler-son/90225/.




                                           10
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 11 of 18 PageID# 11




             (j)    On November 17, 2017, two children were killed when a vehicle

                    went onto the sidewalk and struck the children at Defendant’s

                    bank       in      Boyle       Heights,       California.      See

                    https://www.latimes.com/local/lanow/la-me-deputy-crash-kids-

                    killed-20171117-story.html.

             (k)    On February 5, 2018, two people were injured when a vehicle

                    crashed into Defendant’s bank in Woodland Hills, California. See

                    https://patch.com/california/woodlandhills/car-slams-shop-

                    topanga-canyon-woodland-hills.

             (l)    On May 18, 2018, a vehicle struck a pedestrian and crashed into

                    Defendant’s bank in Modesto, California. See https://www.mod-

                    bee.com/latest-news/article211376609.html.

             (m)    On December 6, 2018, a vehicle crashed into Defendant’s bank in

                    Bluffton, South Carolina, after the driver mistakenly hit the ac-

                    celerator. See https://www.islandpacket.com/news/local/crime/ar-

                    ticle222738630.html.

             On September 28, 2011, Debra Palmer, the former Project Management

Manager in ATM Banking and the then-Director of ATM Banking Strategic Deploy-

ment for Defendant Wells Fargo, testified and stated the obvious, that “if an ATM is

in the way of vehicular traffic, the ATM should be protected from that traffic.”




                                           11
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 12 of 18 PageID# 12




D. The Bank put the protection of its property above protection of its cus-
   tomers.

             The following examples illustrate that Defendant was willing to protect

its property from vehicular incursion by installing bollards:

                    Defendant’s bank at 10944 Fairfax Boulevard, Fairfax, Virginia,

                    has bollards that are clearly intended to protect the building’s pil-

                    lars and drive-up chutes:




                                          12
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 13 of 18 PageID# 13




                  Defendant’s bank at 212 Maple Avenue East, Vienna, Virginia,

                  has bollards that are clearly intended to protect the building’s pil-

                  lars, ATM, and drive-up chutes:




                  When Lisa was injured, the bank had bollards to protect the

                  building’s pillars and drive-up chutes:




                                        13
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 14 of 18 PageID# 14




              Despite knowing how to protect its property and equipment, Defendant

failed to take similar action to protect its ATM customers from foreseeable injury or

death due to vehicle-incursion incidents.



E. Even without actual knowledge of the hazard created by the location of
   its ATM, the Bank should have known of the hazardous condition.

              Notwithstanding Defendant’s actual knowledge of the hazard created by

maintaining ATMs outside in proximity to vehicle areas like parking lots and drive-

ways without barriers, Defendant should have known this created a hazardous con-

dition on its property and that injury was foreseeable.

              On June 1, 2015, the National Highway Traffic Safety Administration

issued a safety advisory on the dangers of “pedal error.” A study commissioned by

NHTSA determined that approximately 16,000 accidents per year were found to have

been caused by the accidental engagement of the accelerator instead of the brake, and

that “most incidents [ ] happen at very low speeds, such as when attempting to park.”

The study further noted that these “pedal error” accidents are four times more likely

to occur to drivers under the age of twenty-five and over the age of sixty-five.

              On July 17, 2015, the “Claims Journal” of the insurance industry re-

ported that analysis of the NHTSA data revealed that “roughly half of the pedal mis-

application events studied occurred while drivers were either turning the vehicle or

reversing.”




                                            14
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 15 of 18 PageID# 15




F. Summary.

             Despite Defendant’s knowledge of the dangers posed by the design and

layout of its properties, and despite knowledge of similar incidents, Defendant main-

tained the Bank so that it was unreasonably dangerous to ATM customers like Lisa.

             The design and layout of the Bank’s parking lot, as maintained by De-

fendant, in relation to the sidewalk and ATM created a hazardous condition for ATM

customers because it directed vehicles exiting the parking spaces to reverse directly

toward the ATM without a barrier to stop vehicles from driving onto the sidewalk and

into the ATM or ATM customers.

                                  NEGLIGENCE

             The preceding Paragraphs 1 through 33 are incorporated.

             Defendant owed Plaintiff the duty to use ordinary care to have its prem-

ises in a reasonably safe condition for Lisa and other similarly situated customers.

             Defendant breached this duty and was negligent for, among other

things, maintaining the ATM in an area susceptible to vehicle-incursion incidents;

maintaining the parking lot in a manner that required vehicles exiting parking

spaces to reverse directly towards the ATM; and failing to erect a barrier between the

vehicle areas and ATM area.

             Defendant should have realized that if pedal error occurred when a

driver was exiting towards the ATM, that ATM customers were at risk of serious

personal injury or death.




                                         15
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 16 of 18 PageID# 16




             Defendant should have realized that by positioning ATM patrons with

their back towards exiting vehicles, they were helpless to protect themselves from

potential vehicle-incursion incidents.

             As a direct and proximate cause of Defendant’s negligence, Plaintiff sus-

tained serious, life-threatening, and permanent physical and emotional injuries, pain

and suffering, and disfigurement. She has incurred, and will continue to incur, med-

ical expenses, loss of earning capacity, severe bodily injury, and other damages recov-

erable at law.

                             PUNITIVE DAMAGES

             The preceding Paragraphs 1 through 39 are incorporated.

             Before July 1, 2019, Defendant had actual knowledge that maintaining

vehicle areas near ATMs without barriers exposed ATM customers to serious per-

sonal injury or death.

             Before July 1, 2019, Defendant had actual knowledge that the parking

spaces located on its property directed exiting vehicles toward unaware ATM custom-

ers.

             Notwithstanding this knowledge, Defendant made a conscious choice to

maintain the ATM at the Bank on an outer wall directly across from parking spaces

that forced exiting vehicles to reverse towards the ATM, where customers stood with

their backs to the parking spaces. Defendant maintained this layout without a bar-

rier, which it knew would protect its ATM patrons from injury or death due to vehicle

incursion.




                                          16
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 17 of 18 PageID# 17




             Defendant’s acts and omissions constituted a willful and wanton disre-

gard of the rights and safety of Plaintiff, resulting in her serious, permanent injuries.

Plaintiff is entitled to punitive damages.

                                 JURY REQUEST

             Plaintiff hereby requests a trial by jury on all issues.

                              PRAYER FOR RELIEF

      Plaintiff, Lisa Schneider, moves this Court for judgment against Defendant,

Wells Fargo Bank, National Association, in the amount of twenty million dollars

($20,000,000.00) in compensatory damages and ten million dollars ($10,000,000.00)

in punitive damages, with prejudgment interest from the date of injury forward, costs

incurred, and any other relief this Court deems just.


                                              LISA SCHNEIDER
                                              By Counsel




                                             17
Case 1:20-cv-01522-LMB-MSN Document 1 Filed 12/10/20 Page 18 of 18 PageID# 18




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                                     18
